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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RICKY KISER                                           )
                                                      )
                       Plaintiff,                     )      Civil Action No.
       vs.                                            )
                                                      )
TRANS UNION, LLC                                      )
                                                      )
                       Defendant.                     )
                                                      )

                                           COMPLAINT

                                    I.    Preliminary Statement

       1.       This is an action for damages brought by an individual consumer against the

Defendant for violations of the Fair Credit Reporting Act (hereafter the “FCRA”), 15 U.S.C.

§1681 et seq., as amended, and various other state laws.

                                    II.   Jurisdiction and Venue

       2.       Jurisdiction of this Court arises under 15 U.S.C. § 1681p, 28 U.S.C. §1331, 1337,

and supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. §1367.

       3.       Venue lies properly in this district pursuant to 28 U.S.C. §1391(b).

                                            III.   Parties

       4.       Plaintiff Ricky Kiser, is an adult individual who resides at 13589 Lynn Street,

Woodbridge, VA 22191.

       5.       Defendant, Trans Union, LLC (hereafter “TU”), is a business entity which

regularly conducts business in Philadelphia County, Pennsylvania, and which has a principal

place of business located at 1510 Chester Pike, Crum Lynne, PA 19022.
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                                       IV.     Factual Allegations

       6.      Defendant has been reporting derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to third parties (hereafter the

“inaccurate information”).

       7.      The inaccurate information includes, but is not limited to, a public record and

other personal information.

       8.      The inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s credit

repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit

worthiness. The inaccurate information consists of accounts and/or tradelines that do not belong

to the Plaintiff, or which misrepresent the payment history and/or status of accounts that do

belong to the Plaintiff as well as incorrect personal identifying information.

       9.      Defendant has been reporting the inaccurate information through the issuance of

false and inaccurate credit information and consumer credit reports that they have disseminated

to various persons and credit grantors, both known and unknown.

       10.     Plaintiff has repeatedly disputed the inaccurate information with the Defendant by

both oral and written communications to their representatives and by following Defendant’s

established procedure for disputing consumer credit information.

       11.     Plaintiff has repeatedly disputed the inaccurate information with on multiple

occasions, including but not limited to, September 2010 through the present.

       12.     In addition to repeatedly disputing the inaccurate information, Plaintiff has

provided Defendant with extrinsic written documentation corroborating Plaintiff’s disputes.

       13.     Notwithstanding Plaintiff’s efforts, Defendant has sent Plaintiff correspondence

indicating their intent to continue publishing the inaccurate information and Defendant continued




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to publish and disseminate such inaccurate information to other third parties, persons, entities

and credit grantors. Defendant has repeatedly published and disseminated consumer reports to

such third parties, including but not limited to, from September 2010 through the present.

       14.     Despite Plaintiff’s efforts, Defendant has never: 1) contacted the Plaintiff to

follow up on, verify and/or elicit more specific information about Plaintiff’s disputes; 2)

contacted any third parties that would have relevant information concerning Plaintiff’s disputes;

3) forwarded any relevant information concerning Plaintiff’s disputes to the entities originally

furnishing the inaccurate information; and 4) requested or obtained any other relevant documents

from the entities furnishing the inaccurate information.

       15.     Despite Plaintiff’s exhaustive efforts to date, Defendant has nonetheless

deliberately, willfully, intentionally, recklessly and negligently repeatedly failed to perform

reasonable reinvestigations of the above disputes as required by the FCRA, has failed to remove

the inaccurate information, has failed to report on the results of its reinvestigations to all credit

reporting agencies, has failed to note the disputed status of the inaccurate information and has

continued to report the derogatory inaccurate information about the Plaintiff.

       16.     Plaintiff has applied for and has been denied various loans and extensions of

consumer credit on many different occasions, and Plaintiff has been informed that the basis for

these denials was the inaccurate information that appears on Plaintiff’s credit reports and that the

inaccurate information was a substantial factor for those denials.

       17.     Plaintiff’s credit reports and file have been obtained from Defendant and have

been reviewed many times by prospective and existing credit grantors and extenders of credit,

and the inaccurate information has been a substantial factor in precluding Plaintiff from

receiving many different credit offers and opportunities, known and unknown, and from




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receiving the most favorable terms in financing and interest rates for credit offers that were

ultimately made.

       18.     As a result of Defendants’ conduct, Plaintiff has suffered actual damages in the

form of credit denial or loss of credit opportunity, credit defamation and emotional distress,

including anxiety, frustration, embarrassment and, humiliation.

       19.     At all times pertinent hereto, Defendant was acting by and through its agents,

servants and/or employees who were acting within the course and scope of its agency or

employment, and under the direct supervision and control of the Defendant herein.

       20.     At all times pertinent hereto, the conduct of the Defendant, as well as that of its

agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

negligent disregard for federal and state laws and the rights of the Plaintiff herein.

                                           V.   CLAIMS

                                      COUNT ONE - FCRA

       21.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       22.     At all times pertinent hereto, Defendant was a “person” and “consumer reporting

agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).

       23.     At all times pertinent hereto, the Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. § 1681a(c).

       24.     At all times pertinent hereto, the above-mentioned credit reports were “consumer

reports” as that term is defined by 15 U.S.C. § 1681a(d).

       25.     Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Defendant is liable to the

Plaintiff for engaging in the following conduct:




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               (a)     willfully and negligently failing to conduct a proper and reasonable

reinvestigation concerning the inaccurate information after receiving notice of the dispute from

the Plaintiff, in violation of 15 U.S.C. §1681i(a);

               (b)     willfully and negligently failing to provide prompt notice of the inaccurate

information and Plaintiff’s dispute to the furnishing entities, in violation of 15 U.S.C. §1681i(a);

               (c)     willfully and negligently failing to provide all relevant information

provided by the Plaintiff regarding the dispute of the inaccurate information to the furnishing

entities, in violation of 15 U.S.C. §1681i(a);

               (d)     willfully and negligently failing to review and consider all relevant

information submitted by the Plaintiff concerning the dispute of the inaccurate information, in

violation of 15 U.S.C. §1681i(a);

               (e)     willfully and negligently failing to delete the inaccurate information from

Plaintiff’s credit file after reinvestigation, in violation of 15 U.S.C. §1681i(a);

               (f)     willfully and negligently failing to note the Plaintiff’s dispute of the

inaccurate information and in subsequent consumer reports, in violation of 15 U.S.C. §1681i(c);

               (g)     willfully and negligently failing to timely and properly investigate the

inaccurate information after receiving notice of the dispute from the Plaintiff;

               (h)     willfully and negligently failing to employ and follow reasonable

procedures to assure maximum possible accuracy of Plaintiff’s credit report, information and

file, in violation of 15 U.S.C. §1681e(b); and

               (i)     willfully and negligently failing to properly and timely delete the

inaccurate information     from the Plaintiff’s credit files despite being unable to verify the

accuracy of the information and/or being provided with proof of its inaccuracy.




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       26.     The conduct of Defendant was a direct and proximate cause, as well as a

substantial factor, in bringing about the serious injuries, actual damages and harm to the Plaintiff

that are outlined more fully above and, as a result, Defendant is liable to the Plaintiff for the full

amount of statutory, actual and punitive damages, along with the attorneys’ fees and the costs of

litigation, as well as such further relief, as may be permitted by law.

                                COUNT TWO - DEFAMATION

       27.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       28.     Defendant has published statements both orally and through writing to various

creditors, prospective credit grantors, other credit reporting agencies, and other entities that the

above-referenced derogatory inaccurate information belong to the Plaintiff.

       29.     Defendant has published these statements each time a credit report on the Plaintiff

has been requested from any creditor, prospective credit grantors furnisher or other source.

       30.     The statements made by Defendant are false in that they inaccurately reflect

Plaintiff’s credit information and debt repayment history, and paint Plaintiff as financially

irresponsible and delinquent.

       31.     Defendant has published these statements to at least every single creditor,

furnisher or prospective creditor or other entity that has requested Plaintiff’s credit report.

       32.     Defendant knew that the statements were false when made, and had no factual

basis for making the statements, as Plaintiff has notified them repeatedly through writing,

telephone communication and extensive documentation that the above inaccurate information

was inaccurate for the reasons stated above.




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       33.       Nonetheless, Defendant continues to publish the false and negative statements

concerning the Plaintiff’s credit history up through the present time.

       34.       The written statements and publications constitute libel per se.

       35.       The oral statements and publications constitute slander per se.

       36.       In addition, and despite the repeated notices from Plaintiff, Defendant has acted

with malice by failing to communicate the information provided to them by Plaintiff to all

creditors, prospective creditors, furnishers of information and all other entities to whom it

provides credit information concerning the Plaintiff.

       37.       Defendant’s conduct was a direct and proximate cause, as well as a substantial

factor, in bringing about the serious injuries, damages and harm to the Plaintiff that are outlined

more fully above and, as a result, Defendant is liable to compensate the Plaintiff for the full

amount of actual damages, compensatory damages and punitive damages, as well as such other

relief, permitted under the law.

                                COUNT THREE - NEGLIGENCE

       38.       Plaintiff incorporates the foregoing paragraphs as if the same were set forth at

length herein.

       39.       Defendant’s negligence consists of the following:

             (a) Violating the FCRA as set forth above;

             (b) Failing to conduct a proper and reasonable reinvestigation concerning the

                 inaccurate information after receiving notice of the dispute from the Plaintiff;

             (c) Failing to provide prompt notice of the inaccurate information and Plaintiff’s

                 dispute to creditors;




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             (d) Failing to provide all relevant information provided by the Plaintiff regarding the

                dispute of the inaccurate information to creditors;

             (e) Failing to review and consider all relevant information submitted by the Plaintiff

                concerning the dispute of the inaccurate information;

             (f) Failing to delete or correct the inaccurate information from Plaintiff’s credit file

                after reinvestigation;

             (g) Failing to note the Plaintiff’s dispute of the inaccurate information and in

                subsequent consumer reports;

             (h) Failing to timely and properly investigate the inaccurate information after

                receiving notice of the dispute from the Plaintiff;

             (i) Failing to employ and follow reasonable procedures to assure maximum possible

                accuracy of Plaintiff’s credit report, information and file;

             (j) Failing to properly and timely delete the inaccurate information from the

                Plaintiff’s credit files despite being unable to verify the accuracy of the

                information and/or being provided with proof of its inaccuracy; and

             (k) Continuing to report the inaccurate information despite having knowledge of the

                inaccuracies and/or the inability to be verified.

       40.      As a result of Defendant’s above mentioned conduct, Plaintiff sustained and

continues to sustain the losses and damages as set forth above.

       41.      The conduct of Defendant was a direct and proximate cause, as well as a

substantial factor, in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined more fully above and, as a result, Defendant is liable to compensate the Plaintiff for the




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full amount of actual and compensatory damages, as well as such other relief, permitted under

the law.

                 COUNT FOUR – INVASION OF PRIVACY/FALSE LIGHT

       42.       Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       43.       Defendant’s above actions violated Plaintiff’s right of privacy by placing the

Plaintiff in a false light before the eyes of others, including potential credit grantors and creditors

as well as family, friends and the general public.

       44.       By such unauthorized publication and circulation of Plaintiff’s name and the

inaccurate information, Defendant invaded Plaintiff’s right to privacy, subjected Plaintiff to

ridicule and contempt, injured Plaintiff’s personal esteem, reflected disgracefully on Plaintiff’s

character, diminished Plaintiff’s high standing, reputation and good name among family, friends,

neighbors and business associates, destroyed Plaintiff’s peace of mind, and caused Plaintiff

severe mental and emotional distress.

       45.       The conduct of Defendant was a direct and proximate cause, as well as a

substantial factor, in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined more fully above and, as a result, Defendant is liable to compensate the Plaintiff for the

full amount of actual, compensatory and punitive damages, as well as such other relief, permitted

under the law.

                                  VI.    JURY TRIAL DEMAND

       46.       Plaintiff demands trial by jury on all issues so triable.




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                                 VII.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendant, based on the following requested relief:

       (a)     Actual damages;

       (b)     Statutory damages;

       (c)     Punitive damages;

       (d)     Costs and reasonable attorney's fees pursuant to 15 U.S.C. §§1681n, and 1681o;

       (e)     An order directing that Defendant immediately delete all of the inaccurate

information from Plaintiff’s credit reports and files and cease reporting the inaccurate

information to any and all persons and entities to whom they report consumer credit information;

       (f)     An order directing that Defendant send to all persons and entities to whom they

have reported Plaintiff’s inaccurate information within the last three years Plaintiff’s updated and

corrected credit report information; and

       (g)     Such other and further relief as may be necessary, just and proper.


                                              Respectfully submitted,

                                              FRANCIS & MAILMAN, P.C.


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Dated: December 23, 2010



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